Case 1:18-cv-00134-BKS-ATB Document 6-3 Filed 02/05/18 Pagelof1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

AFFIDAVIT
OF
SPONSOR

Petition of : David H. Thompson

STATE OF NEW YORK Albany
COUNTY OF

Kathleen McCaffrey Baynes , being duly sworn, depose and say:

Kathleen McCaffrey Baynes, Esq. PLLC

1. That I am an attorney associated with the law firm of

and am a member in good standing with the United States District Court for the Northern District of

New York. My NYND Bar Roll Number is: 507154

2. I make this affidavit in support of the admission of David H. Thompson

December 27, 2017

3. IT have known since

David H. Thompson

and find him/her to be of high moral character and suitable for admission to the United States District

Court for the Northern District of New York.

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I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.

Dated this "| day of February 29 18

Kishin Sho

SPONSOR Ye—-Y "

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Notary Public, State of New York
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Fonn Date: 6/7/2011
